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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

v.                                NO. 4:07CR00267-002 SWW

JEWELL EDWARD EASTER



                                  ORDER

     Before the Court is the government’s motion to amend the judgment

which was filed in this matter on July 31, 2008.     The government states

that defendant agreed to forfeit certain items as part of his plea

agreement.   An Amended Preliminary Order of Forfeiture was filed on July

15, 2008, which forfeited those items to the United States, but the

forfeiture of these assets was not included in the judgment.       Defendant

has advised the Court that he has no objection to the government’s

motion.   Therefore, the Court finds that the motion should be granted.

     IT IS THEREFORE ORDERED that the government’s motion to amend the

judgment is granted, and an amended judgment will be entered subsequent

to this order which will include the forfeiture of the assets set forth

in the Amended Preliminary Order of Forfeiture.

     IT IS SO ORDERED   this 5th day of August, 2008.



                                 /s/Susan Webber Wright

                                 UNITED STATES DISTRICT JUDGE
